                                 Case 1:16-cv-06284-AT Document 47-6 Filed 01/09/17 Page 1 of 25


             Form 5500                               Annual Return/Report of Employee Benefit Plan                                                                                 OMB Nos. 1210-0110
                                                                                                                                                                                            1210-0089
                                                    This form is required to be filed for employee benefit plans under sections 104
          Department of the Treasury               and 4065 of the Employee Retirement Income Security Act of 1974 (ERISA) and
           Internal Revenue Service                   sections 6047(e), and 6058(a) of the Internal Revenue Code (the Code).
            Department of Labor
                                                                                                                                                                                2010
          Employee Benefits Security                                      Complete all entries in accordance with
                Administration                                              the instructions to the Form 5500.
     Pension Benefit Guaranty Corporation
                                                                                                                                                                  This Form is Open to Public
                                                                                                                                                                          Inspection
Part I          Annual Report Identification Information
For calendar plan year 2010 or fiscal plan year beginning                    01/01/2010                                           and ending        12/31/2010
A    This return/report is for:                        X   a multiemployer plan;                         X   a multiple-employer plan; or
                                                       X   a single-employer plan;                       X   a DFE (specify)            _C_

B    This return/report is:                            X   the first return/report;                      X   the final return/report;
                                                       X   an amended return/report;                     X   a short plan year return/report (less than 12 months).

C    If the plan is a collectively-bargained plan, check here. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . X
D    Check box if filing under:                 X Form 5558;
                                                X                                                     X automatic extension;                                                X the DFVC program;
                                                       X   special extension (enter description) ABCDEFGHI                      ABCDEFGHI ABCDEFGHI ABCDE
 Part II    Basic Plan Information—enter all requested information
1a Name of plan                                                                                                                                                     1b  Three-digit plan      005
ABCDEFGHI
NYU SCHOOL OF ABCDEFGHI    ABCDEFGHI
                MEDICINE RETIREMENT    ABCDEFGHI
                                    PLAN FOR MEMBERS    ABCDEFGHI     ABCDEFGHI
                                                           OF THE FACULTY,        ABCDEFGHI
                                                                           PROFESSIONAL RESEARCH                                                                        number (PN)          001
STAFF AND ADMINISTRATION
ABCDEFGHI     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                           1c Effective date of plan
                                                                                                                                                                        YYYY-MM-DD
                                                                                                                                                                     01/01/1952
2a    Plan sponsor’s name and address (employer, if for a single-employer plan)                                                                                     2b   Employer Identification
     (Address should include room or suite no.)                                                                                                                          Number (EIN)
NEW YORK UNIVERSITY                                                                                                                                                      012345678
                                                                                                                                                                      XX-XXXXXXX
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                               2c   Sponsor’s telephone
D/B/A ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                        number
ABCDEFGHI                                                                                                                                                             212-887-1270
                                                                                                                                                                         0123456789
726 BROADWAY, 8TH FLOOR
c/o   ABCDEFGHI
NEW YORK, NY 10003 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                      2d   Business code (see
123456789 ABCDEFGHI ABCDEFGHI ABCDE                                                                                                                                      instructions)
                                                                                                                                                                      611000
                                                                                                                                                                         012345
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITYEFGHI ABCDEFGHI AB, ST 012345678901
UK

Caution: A penalty for the late or incomplete filing of this return/report will be assessed unless reasonable cause is established.
Under penalties of perjury and other penalties set forth in the instructions, I declare that I have examined this return/report, including accompanying schedules,
statements and attachments, as well as the electronic version of this return/report, and to the best of my knowledge and belief, it is true, correct, and complete.


SIGN Filed with authorized/valid electronic signature.                                           11/30/2011
                                                                                                 YYYY-MM-DD                MARGARET M. MEAGHER
                                                                                                                           ABCDEFGHI   ABCDEFGHI ABCDEFGHI ABCDE
HERE
      Signature of plan administrator                                                            Date                      Enter name of individual signing as plan administrator

SIGN Filed with authorized/valid electronic signature.                                           11/30/2011
                                                                                                  YYYY-MM-DD               MARGARET M. ABCDEFGHI
                                                                                                                           ABCDEFGHI   MEAGHER   ABCDEFGHI ABCDE
HERE
      Signature of employer/plan sponsor                                                         Date                      Enter name of individual signing as employer or plan sponsor

SIGN                                                                                             YYYY-MM-DD                ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
HERE
         Signature of DFE                                         Date                Enter name of individual signing as DFE
For Paperwork Reduction Act Notice and OMB Control Numbers, see the instructions for Form 5500.                                                                                     Form 5500 (2010)
                                                                                                                                                                                          v.092307.1




                                                                                                                                                                    Exhibit 5
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New York University School of Medicine Retirement Plan for Members
of the Faculty, Professional Research Staff and Administration
Notes to Financial Statements
December 31, 2010 and 2009

     The Plan had the following investments at fair value that exceeded 5% of the net assets available
     for benefits at:

                                                                               December 31,
                                                                        2010                     2009

     CREF Stock                                                 $       304,567,640      $       282,223,123
     TIAA Traditional Annuity                                           463,882,927              456,582,229


     During 2010, the Plan’s investments (including investments bought and sold, as well as held during
     the year), appreciated (depreciated) in value as follows:

                                                                                  2010
     CREF Variable Annuities                                             $          57,591,660
     TIAA Real Estate Pooled Separate Account                                        3,115,361
     Vanguard Mutual Funds                                                          29,112,572
                                                                         $          89,819,593


5.   Plan Termination

     Although the Plan has not expressed any intent to do so, NYUSOM has the right to discontinue its
     contributions and to terminate the Plan at any time subject to the provisions of ERISA.


6.   Tax Status

     The Plan has been designed to qualify for tax-exempt status under Section 403(b) of the Code.
     The terms of the Plan have been prepared to conform with the sample language provided by the
     IRS in Revenue Procedure 2007-71. The Plan is required to operate in conformity with the Code to
     maintain the tax-exempt status for Plan participants under Section 403(b). NYUSOM believes that
     the Plan is currently designed and operating in accordance with the applicable requirements of
     Section 403(b) of the Code and, therefore, believes the Plan is qualified and the related (custodial)
     accounts (and tax-deferred annuities) are tax-exempt. Therefore, no provision for income taxes has
     been included in the Plan’s financial statements.

     Accounting principles generally accepted in the United States of America require Plan
     management to evaluate tax positions taken by the Plan and recognize a tax liability if the Plan has
     taken an uncertain position that more likely than not would not be sustained upon examination by
     the IRS. NYUSOM has analyzed the tax positions taken by the Plan, and has concluded that as of
     December 31, 2010, there are no uncertain positions taken or expected to be taken that would
     require recognition of a liability or disclosure in the financial statements. The Plan is subject to
     routine audits by taxing jurisdictions; however, there are currently no audits for any tax periods in
     progress. NYUSOM believes it is no longer subject to income tax examinations for years prior to
     2007.

7.   Party-In-Interest Transactions

     All of the Plan's investments are managed by the custodians and therefore, these transactions
     qualify as party-in-interest. The total fair value of investments managed by TIAA-CREF and




                                                  11
                                                                                             Exhibit 5
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New York University School of Medicine Retirement Plan for Members
of the Faculty, Professional Research Staff and Administration
Notes to Financial Statements
December 31, 2010 and 2009

     Vanguard was $1,286,531,411 and $1,180,426,765 at December 31, 2010 and 2009, respectively.


8.   Subsequent Events

     NYUSOM has evaluated subsequent events through November 7, 2011, the date the financial
     statements were available to be issued. There were no significant subsequent events noted during
     this period.




                                                12
                                                                                       Exhibit 5
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New York University School of Medicine Retirement Plan for Members
of the Faculty, Professional Research Staff and Administration
Schedule H, Line 4i - Schedule of Assets (Held at End of Year)*
December 31, 2010

     Identity of issue
     borrower, lessor, or                                                                                         Fair
     similar party individual                                       Description of investment        Cost        Value

**   CREF Bond Market                                               Variable Annuity Contract        ***    $    27,525,937
**   CREF Equity Index                                              Variable Annuity Contract        ***         22,013,761
**   CREF Global Equities                                           Variable Annuity Contract        ***         37,664,750
**   CREF Growth                                                    Variable Annuity Contract        ***         32,998,081
**   CREF Inflation-Linked Bond                                     Variable Annuity Contract        ***         23,756,962
**   CREF Money Market                                              Variable Annuity Contract        ***         22,769,447
**   CREF Social Choice                                             Variable Annuity Contract        ***         15,088,745
**   CREF Stock                                                     Variable Annuity Contract        ***        304,567,640
**   TIAA Real Estate                                               Pooled Separate Account          ***         28,160,351
**   TIAA Traditional Annuity                                       Guaranteed Insurance Contract    ***        463,882,927
**   Vanguard 500 Index Fund Investor Shares                        Registered Investment Company    ***         28,006,076
**   Vanguard Admiral Treasury Money Market Fund                    Registered Investment Company    ***          3,131,278
**   Vanguard Asset Allocation Fund Investor Shares                 Registered Investment Company    ***          4,438,343
**   Vanguard Balanced Index Fund Investor Shares                   Registered Investment Company    ***            984,643
**   Vanguard Capital Opportunity Fund Investor Shares              Registered Investment Company    ***          8,885,566
**   Vanguard Capital Value Fund                                    Registered Investment Company    ***            863,789
**   Vanguard Convertible Securities Fund                           Registered Investment Company    ***            916,736
**   Vanguard Developed Markets Index Fund                          Registered Investment Company    ***          1,413,863
**   Vanguard Dividend Growth Fund                                  Registered Investment Company    ***          1,023,053
**   Vanguard Emerging Markets Stock Index Fund Investor Shares     Registered Investment Company    ***          7,736,133
**   Vanguard Equity Income Fund Investor Shares                    Registered Investment Company    ***          2,941,249
**   Vanguard European Stock Index Fund Investor Shares             Registered Investment Company    ***          1,244,076
**   Vanguard Explorer Fund Investor Shares                         Registered Investment Company    ***          5,938,207
**   Vanguard Extended Market Index Fund Investor Shares            Registered Investment Company    ***            900,003
**   Vanguard Federal Money Market Fund                             Registered Investment Company    ***          2,002,352
**   Vanguard FTSE Social Index Fund Investor Shares                Registered Investment Company    ***            338,200
**   Vanguard Global Equity Fund                                    Registered Investment Company    ***          2,611,747
**   Vanguard GNMA Fund Investor Shares                             Registered Investment Company    ***          3,306,787
**   Vanguard Growth and Income Fund Investor Shares                Registered Investment Company    ***          4,776,310
**   Vanguard Growth Equity Fund                                    Registered Investment Company    ***            669,583
**   Vanguard Growth Index Fund Investor Shares                     Registered Investment Company    ***          1,979,057
**   Vanguard High-Yield Corporate Fund Investor Shares             Registered Investment Company    ***          2,880,167
**   Vanguard Inflation-Protected Securities Fund Investor Shares   Registered Investment Company    ***          4,093,113
**   Vanguard Intermediate-Term Bond Index Fund Investor Shares     Registered Investment Company    ***          1,998,590
**   Vanguard Intermediate-Term Investment Grade Investor Share     Registered Investment Company    ***          1,305,377
**   Vanguard Intermediate-Term Treasury Fund Investor Shares       Registered Investment Company    ***          1,266,055
**   Vanguard International Explorer Fund                           Registered Investment Company    ***          5,207,280
**   Vanguard International Growth Fund Investor Shares             Registered Investment Company    ***          7,671,707
**   Vanguard International Value Fund                              Registered Investment Company    ***          2,300,230
**   Vanguard LifeStrategy Conservative Growth Fund                 Registered Investment Company    ***            877,350
**   Vanguard LifeStrategy Growth Fund                              Registered Investment Company    ***          1,787,397
**   Vanguard LifeStrategy Income Fund                              Registered Investment Company    ***            438,507
**   Vanguard LifeStrategy Moderate Growth Fund                     Registered Investment Company    ***          2,886,457
**   Vanguard Long-Term Bond Index Fund                             Registered Investment Company    ***          1,589,655
**   Vanguard Long-Term Investment Grade - Invest Share             Registered Investment Company    ***          3,136,632
**   Vanguard Long-Term Treasury Fund Investor Shares               Registered Investment Company    ***          3,617,541




                                                           13
                                                                                                    Exhibit 5
          Case 1:16-cv-06284-AT Document 47-6 Filed 01/09/17 Page 5 of 25

New York University School of Medicine Retirement Plan for Members
of the Faculty, Professional Research Staff and Administration
Schedule H, Line 4i - Schedule of Assets (Held at End of Year)*
December 31, 2010

     Identity of issue
     borrower, lessor, or                                                                                        Fair
     similar party individual                                    Description of investment           Cost       Value

**   Vanguard Mid-Cap Growth Fund                                Registered Investment Company       ***    $    1,552,991
**   Vanguard Mid-Cap Index Fund Investor Shares                 Registered Investment Company       ***         3,212,456
**   Vanguard Morgan Growth Fund Investor Shares                 Registered Investment Company       ***         4,292,875
**   Vanguard Pacific Stock Index Fund Investor Shares           Registered Investment Company       ***           983,774
**   Vanguard Prime Money Market Fund                            Registered Investment Company       ***        14,177,091
**   Vanguard PRIMECAP Fund Investor Shares                      Registered Investment Company       ***        26,648,351
**   Vanguard REIT Index Fund Investor Shares                    Registered Investment Company       ***         5,098,942
**   Vanguard Selected Value Fund                                Registered Investment Company       ***         1,905,132
**   Vanguard Short-Term Bond Index Fund Investor Shares         Registered Investment Company       ***         2,213,026
**   Vanguard Short-Term Federal Fund Investor Shares            Registered Investment Company       ***           706,143
**   Vanguard Short-Term Investment-Grade Fund Investor Shares   Registered Investment Company       ***         2,357,111
**   Vanguard Short-Term Treasury Fund Investor Shares           Registered Investment Company       ***           673,507
**   Vanguard Small-Cap Growth Index Fund                        Registered Investment Company       ***         1,741,005
**   Vanguard Small-Cap Index Fund Investor Shares               Registered Investment Company       ***         2,462,956
**   Vanguard Small-Cap Value Index Fund                         Registered Investment Company       ***         2,643,421
**   Vanguard STAR Fund                                          Registered Investment Company       ***         4,186,657
**   Vanguard Strategic Equity Fund                              Registered Investment Company       ***         1,396,530
**   Vanguard Target Retirement 2005 Fund                        Registered Investment Company       ***           158,664
**   Vanguard Target Retirement 2010 Fund                        Registered Investment Company       ***            37,076
**   Vanguard Target Retirement 2015 Fund                        Registered Investment Company       ***         3,436,884
**   Vanguard Target Retirement 2020 Fund                        Registered Investment Company       ***           641,164
**   Vanguard Target Retirement 2025 Fund                        Registered Investment Company       ***         3,540,199
**   Vanguard Target Retirement 2030 Fund                        Registered Investment Company       ***           273,805
**   Vanguard Target Retirement 2035 Fund                        Registered Investment Company       ***         5,140,281
**   Vanguard Target Retirement 2040 Fund                        Registered Investment Company       ***           300,935
**   Vanguard Target Retirement 2045 Fund                        Registered Investment Company       ***         2,971,433
**   Vanguard Target Retirement 2050 Fund                        Registered Investment Company       ***             9,822
**   Vanguard Target Retirement Income                           Registered Investment Company       ***           129,816
**   Vanguard Total Bond Market Index Fund Investor Shares       Registered Investment Company       ***        10,717,404
**   Vanguard Total International Stock Index Fund               Registered Investment Company       ***         4,559,634
**   Vanguard Total Stock Market Index Fund Investor Shares      Registered Investment Company       ***        10,516,269
**   Vanguard U.S. Growth Fund Investor Shares                   Registered Investment Company       ***         4,109,522
**   Vanguard U.S. Value Fund                                    Registered Investment Company       ***           875,983
**   Vanguard Value Index Fund Investor Shares                   Registered Investment Company       ***           882,355
**   Vanguard Wellesley Income Fund Investor Shares              Registered Investment Company       ***         5,907,786
**   Vanguard Wellington Fund Investor Shares                    Registered Investment Company       ***        11,396,573
**   Vanguard Windsor Fund Investor Shares                       Registered Investment Company       ***        31,044,434
**   Vanguard Windsor II Fund Investor Shares                    Registered Investment Company       ***        10,037,694

                                                                                 Total Investments          $ 1,286,531,411

*   The information in this schedule has been certified as to its completeness and accuracy by the
    custodians.
** These are permitted party-in-interest transactions as defined by ERISA.
*** Cost information is not required for participant directed investments and therefore is not included.




                                                        14
                                                                                                 Exhibit 5
                                   Case 1:16-cv-06284-AT Document 47-6 Filed 01/09/17 Page 6 of 25


             Form 5500                                  Annual Return/Report of Employee Benefit Plan                                                                                        OMB Nos. 1210-0110
                                                                                                                                                                                                      1210-0089
                                                      This form is required to be filed for employee benefit plans under sections 104
          Department of the Treasury                 and 4065 of the Employee Retirement Income Security Act of 1974 (ERISA) and
           Internal Revenue Service                  sections 6047(e), 6057(b), and 6058(a) of the Internal Revenue Code (the Code).
            Department of Labor
                                                                                                                                                                                            2011
          Employee Benefits Security                                          Complete all entries in accordance with
                Administration                                                  the instructions to the Form 5500.
     Pension Benefit Guaranty Corporation
                                                                                                                                                                           This Form is Open to Public
                                                                                                                                                                                   Inspection
Part I          Annual Report Identification Information
For calendar plan year 2011 or fiscal plan year beginning                  01/01/2011                                                   and ending          12/31/2011
A    This return/report is for:                           X   a multiemployer plan;                            X   a multiple-employer plan; or
                                                          X   a single-employer plan;                          X   a DFE (specify)             _C_

B    This return/report is:                               X   the first return/report;                         X   the final return/report;
                                                          X   an amended return/report;                        X   a short plan year return/report (less than 12 months).

C    If the plan is a collectively-bargained plan, check here. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   X
D    Check box if filing under:                           X Form 5558;                                         X   automatic extension;                X the DFVC program;
                                                          X   special extension (enter description) ABCDEFGHI                          ABCDEFGHI ABCDEFGHI ABCDE
 Part II    Basic Plan Information—enter all requested information
1a Name of plan                                                                                                                                                              1b  Three-digit plan      005
ABCDEFGHI
NYU SCHOOL OF ABCDEFGHI    ABCDEFGHI
                MEDICINE RETIREMENT    ABCDEFGHI
                                    PLAN FOR MEMBERS    ABCDEFGHI    ABCDEFGHI
                                                           OF THE FACULTY,        ABCDEFGHI
                                                                           PROFESSIONAL RESEARCH                                                                                 number (PN)          001
STAFF AND ADMINISTRATION
ABCDEFGHI     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                    1c Effective date of plan
                                                                                                                                                                                 YYYY-MM-DD
                                                                                                                                                                              01/01/1952
2a    Plan sponsor’s name and address, including room or suite number (Employer, if for single-employer plan)                                                                2b   Employer Identification
                                                                                                                                                                                  Number (EIN)
NEW YORK UNIVERSITY                                                                                                                                                               012345678
                                                                                                                                                                               XX-XXXXXXX
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                        2c     Sponsor’s telephone
D/B/A ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                                   number
ABCDEFGHI                                                                                                                                                                               212-887-1270
                                                                                                                                                                                    0123456789
726 BROADWAY, 8TH FLOOR
c/o  ABCDEFGHI
NEW YORK, NY 10003ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                2d   Business code (see
123456789 ABCDEFGHI ABCDEFGHI ABCDE                                                                                                                                               instructions)
123456789 ABCDEFGHI ABCDEFGHI ABCDE                                                                                                                                               012345
                                                                                                                                                                               611000
CITYEFGHI ABCDEFGHI AB, ST 012345678901
UK

Caution: A penalty for the late or incomplete filing of this return/report will be assessed unless reasonable cause is established.
Under penalties of perjury and other penalties set forth in the instructions, I declare that I have examined this return/report, including accompanying schedules,
statements and attachments, as well as the electronic version of this return/report, and to the best of my knowledge and belief, it is true, correct, and complete.


SIGN Filed with authorized/valid electronic signature.                                                11/29/2012
                                                                                                       YYYY-MM-DD                 MARGARET M. MEAGHER
                                                                                                                                  ABCDEFGHI   ABCDEFGHI ABCDEFGHI ABCDE
HERE
      Signature of plan administrator                                                                  Date                       Enter name of individual signing as plan administrator


SIGN                                                                                                   YYYY-MM-DD                 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
HERE
              Signature of employer/plan sponsor                                                       Date                       Enter name of individual signing as employer or plan sponsor


SIGN                                                                                                   YYYY-MM-DD                 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
HERE
         Signature of DFE                                         Date                Enter name of individual signing as DFE
For Paperwork Reduction Act Notice and OMB Control Numbers, see the instructions for Form 5500.                                                                                              Form 5500 (2011)
                                                                                                                                                                                                    v.012611




                                                                                                                                                                             Exhibit 5
        Case 1:16-cv-06284-AT Document 47-6 Filed 01/09/17 Page 7 of 25

New York University School of Medicine Retirement Plan for Members
of the Faculty, Professional Research Staff and Administration
Notes to Financial Statements
December 31, 2011 and 2010



     During 2011, the Plan’s investments (including investments bought and sold, as well as held during
     the year), appreciated (depreciated) in value as follows:

                                                                                            2011
     CREF Variable Annuities                                                        $        (11,253,544)
     TIAA Real Estate Pooled Separate Account                                                  3,891,770
     Vanguard Mutual Funds                                                                    (9,485,702)
                                                                                    $        (16,847,476)

5.   Plan Termination

     Although the Plan has not expressed any intent to do so, NYUSOM has the right to discontinue its
     contributions and to terminate the Plan at any time subject to the provisions of ERISA.

6.   Tax Status
     The Plan has been designed to qualify for tax-exempt status under Section 403(b) of the Code.
     The terms of the Plan have been prepared to conform with the sample language provided by the
     IRS in Revenue Procedure 2007-71. The Plan is required to operate in conformity with the Code to
     maintain the tax-exempt status for Plan participants under Section 403(b). NYUSOM believes that
     the Plan is currently designed and operating in accordance with the applicable requirements of
     Section 403(b) of the Code and, therefore, believes the Plan is qualified and the related (custodial)
     accounts (and tax-deferred annuities) are tax-exempt. Therefore, no provision for income taxes has
     been included in the Plan’s financial statements.

     Accounting principles generally accepted in the United States of America require Plan
     management to evaluate tax positions taken by the Plan and recognize a tax liability if the Plan has
     taken an uncertain position that more likely than not would not be sustained upon examination by
     the IRS. NYUSOM has analyzed the tax positions taken by the Plan, and has concluded that as of
     December 31, 2011, there are no uncertain positions taken or expected to be taken that would
     require recognition of a liability or disclosure in the financial statements. The Plan is subject to
     routine audits by taxing jurisdictions; however, there are currently no audits for any tax periods in
     progress. NYUSOM believes it is no longer subject to income tax examinations for years prior to
     2008.


7.   Party-In-Interest Transactions

     All of the Plan's investments are managed by the custodians and therefore, these transactions
     qualify as party-in-interest. The total fair value of investments managed by TIAA-CREF and
     Vanguard was $1,291,975,829 and $ 1,286,531,411 at December 31, 2011 and 2010, respectively.



8.   Subsequent Events

     NYUSOM has evaluated subsequent events through November 16, 2012, the date the financial
     statements were available to be issued. There were no significant subsequent events noted during
     this period.




                                                  12
                                                                                           Exhibit 5
           Case 1:16-cv-06284-AT Document 47-6 Filed 01/09/17 Page 8 of 25

New York University School of Medicine Retirement Plan for Members
of the Faculty, Professional Research Staff and Administration
Schedule H, Line 4i - Schedule of Assets (Held at End of Year)*
December 31, 2011

      Identity of issue
      borrower, lessor, or
      similar party individual                                       Description of investment        Cost         Fair value

 **   CREF Bond Market                                               Variable Annuity Contract        ***    $      27,185,738
 **   CREF Equity Index                                              Variable Annuity Contract        ***           22,127,566
 **   CREF Global Equities                                           Variable Annuity Contract        ***           32,318,208
 **   CREF Growth                                                    Variable Annuity Contract        ***           32,265,700
 **   CREF Inflation-Linked Bond                                     Variable Annuity Contract        ***           27,651,978
 **   CREF Money Market                                              Variable Annuity Contract        ***           27,098,855
 **   CREF Social Choice                                             Variable Annuity Contract        ***           15,152,638
 **   CREF Stock                                                     Variable Annuity Contract        ***          268,274,265
 **   TIAA Real Estate                                               Pooled Separate Account          ***           34,035,819
 **   TIAA Retirement Annuity                                        Guaranteed Investment Contract   ***          386,018,312
 **   TIAA Group Supplemental Retirement Annuity                     Guaranteed Investment Contract   ***           93,995,847
 **   Vanguard 500 Index Fund Investor Shares                        Registered Investment Company    ***           29,216,359
 **   Vanguard Admiral Treasury Money Market Fund                    Registered Investment Company    ***            2,591,132
 **   Vanguard Asset Allocation Fund Investor Shares                 Registered Investment Company    ***            4,537,853
 **   Vanguard Balanced Index Fund Investor Shares                   Registered Investment Company    ***            1,139,476
 **   Vanguard Capital Opportunity Fund Investor Shares              Registered Investment Company    ***            7,755,763
 **   Vanguard Capital Value Fund                                    Registered Investment Company    ***              951,911
 **   Vanguard Convertible Securities Fund                           Registered Investment Company    ***              766,779
 **   Vanguard Developed Markets Index Fund                          Registered Investment Company    ***            1,374,470
 **   Vanguard Dividend Growth Fund                                  Registered Investment Company    ***            2,421,619
 **   Vanguard Emerging Markets Stock Index Fund Investor Shares     Registered Investment Company    ***            6,663,635
 **   Vanguard Equity Income Fund Investor Shares                    Registered Investment Company    ***            3,593,815
 **   Vanguard European Stock Index Fund Investor Shares             Registered Investment Company    ***            1,169,457
 **   Vanguard Explorer Fund Investor Shares                         Registered Investment Company    ***            5,585,866
 **   Vanguard Extended Market Index Fund Investor Shares            Registered Investment Company    ***            1,042,677
 **   Vanguard Federal Money Market Fund                             Registered Investment Company    ***            1,880,560
 **   Vanguard FTSE Social Index Fund Investor Shares                Registered Investment Company    ***              372,265
 **   Vanguard Global Equity Fund                                    Registered Investment Company    ***            2,922,254
 **   Vanguard GNMA Fund Investor Shares                             Registered Investment Company    ***            2,846,081
 **   Vanguard Growth and Income Fund Investor Shares                Registered Investment Company    ***            4,691,036
 **   Vanguard Growth Equity Fund                                    Registered Investment Company    ***              582,529
 **   Vanguard Growth Index Fund Investor Shares                     Registered Investment Company    ***            1,769,891
 **   Vanguard High-Yield Corporate Fund Investor Shares             Registered Investment Company    ***            3,332,004
 **   Vanguard Inflation-Protected Securities Fund Investor Shares   Registered Investment Company    ***            5,481,220
 **   Vanguard Intermediate-Term Bond Index Fund Investor Shares     Registered Investment Company    ***            2,121,985
 **   Vanguard Intermediate-Term Investment Grade Investor Share     Registered Investment Company    ***            1,220,117
 **   Vanguard Intermediate-Term Treasury Fund Investor Shares       Registered Investment Company    ***            1,561,969
 **   Vanguard International Explorer Fund                           Registered Investment Company    ***            4,318,286
 **   Vanguard International Growth Fund Investor Shares             Registered Investment Company    ***            6,670,945
 **   Vanguard International Value Fund                              Registered Investment Company    ***            1,908,315
 **   Vanguard LifeStrategy Conservative Growth Fund                 Registered Investment Company    ***              927,440
 **   Vanguard LifeStrategy Growth Fund                              Registered Investment Company    ***            1,986,071
 **   Vanguard LifeStrategy Income Fund                              Registered Investment Company    ***              470,653
 **   Vanguard LifeStrategy Moderate Growth Fund                     Registered Investment Company    ***            3,226,714
 **   Vanguard Long-Term Bond Index Fund                             Registered Investment Company    ***            2,208,097
 **   Vanguard Long-Term Investment Grade - Invest Share             Registered Investment Company    ***            3,492,565
 **   Vanguard Long-Term Treasury Fund Investor Shares               Registered Investment Company    ***            5,311,906




                                                              13
                                                                                                                 Exhibit 5
           Case 1:16-cv-06284-AT Document 47-6 Filed 01/09/17 Page 9 of 25

New York University School of Medicine Retirement Plan for Members
of the Faculty, Professional Research Staff and Administration
Schedule H, Line 4i - Schedule of Assets (Held at End of Year)*
December 31, 2011
      Identity of issue
      borrower, lessor, or
      similar party individual                                        Description of investment         Cost             Fair value

 **   Vanguard Mid-Cap Growth Fund                                    Registered Investment   Company    ***       $       1,756,616
 **   Vanguard Mid-Cap Index Fund Investor Shares                     Registered Investment   Company    ***               3,483,633
 **   Vanguard Morgan Growth Fund Investor Shares                     Registered Investment   Company    ***               4,105,111
 **   Vanguard Pacific Stock Index Fund Investor Shares               Registered Investment   Company    ***                 697,334
 **   Vanguard Prime Money Market Fund                                Registered Investment   Company    ***              18,520,258
 **   Vanguard PRIMECAP Fund Investor Shares                          Registered Investment   Company    ***              26,283,004
 **   Vanguard REIT Index Fund Investor Shares                        Registered Investment   Company    ***               5,590,983
 **   Vanguard Selected Value Fund                                    Registered Investment   Company    ***               1,964,540
 **   Vanguard Short-Term Bond Index Fund Investor Shares             Registered Investment   Company    ***               2,446,184
 **   Vanguard Short-Term Federal Fund Investor Shares                Registered Investment   Company    ***                 642,515
 **   Vanguard Short-Term Investment-Grade Fund Investor Shares       Registered Investment   Company    ***               3,015,946
 **   Vanguard Short-Term Treasury Fund Investor Shares               Registered Investment   Company    ***                 807,666
 **   Vanguard Small-Cap Growth Index Fund                            Registered Investment   Company    ***               2,502,296
 **   Vanguard Small-Cap Index Fund Investor Shares                   Registered Investment   Company    ***               2,532,693
 **   Vanguard Small-Cap Value Index Fund                             Registered Investment   Company    ***               1,769,272
 **   Vanguard STAR Fund                                              Registered Investment   Company    ***               4,298,417
 **   Vanguard Strategic Equity Fund                                  Registered Investment   Company    ***               1,447,266
 **   Vanguard Target Retirement 2005 Fund                            Registered Investment   Company    ***                 204,314
 **   Vanguard Target Retirement 2010 Fund                            Registered Investment   Company    ***                  41,907
 **   Vanguard Target Retirement 2015 Fund                            Registered Investment   Company    ***               4,017,041
 **   Vanguard Target Retirement 2020 Fund                            Registered Investment   Company    ***               1,273,338
 **   Vanguard Target Retirement 2025 Fund                            Registered Investment   Company    ***               4,914,852
 **   Vanguard Target Retirement 2030 Fund                            Registered Investment   Company    ***                 760,601
 **   Vanguard Target Retirement 2035 Fund                            Registered Investment   Company    ***               6,995,598
 **   Vanguard Target Retirement 2040 Fund                            Registered Investment   Company    ***                 856,995
 **   Vanguard Target Retirement 2045 Fund                            Registered Investment   Company    ***               3,807,552
 **   Vanguard Target Retirement 2050 Fund                            Registered Investment   Company    ***                  43,130
 **   Vanguard Target Retirement 2055 Fund                            Registered Investment   Company    ***                   9,973
 **   Vanguard Target Retirement Income                               Registered Investment   Company    ***                 249,977
 **   Vanguard Total Bond Market Index Fund Investor Shares           Registered Investment   Company    ***              12,052,198
 **   Vanguard Total International Stock Index Fund                   Registered Investment   Company    ***               4,434,693
 **   Vanguard Total Stock Market Index Fund Investor Shares          Registered Investment   Company    ***              11,832,034
 **   Vanguard U.S. Growth Fund Investor Shares                       Registered Investment   Company    ***               4,254,480
 **   Vanguard U.S. Value Fund                                        Registered Investment   Company    ***                 908,211
 **   Vanguard Value Index Fund Investor Shares                       Registered Investment   Company    ***                 956,621
 **   Vanguard Wellesley Income Fund Investor Shares                  Registered Investment   Company    ***               6,881,859
 **   Vanguard Wellington Fund Investor Shares                        Registered Investment   Company    ***              12,227,048
 **   Vanguard Windsor Fund Investor Shares                           Registered Investment   Company    ***              28,842,235
 **   Vanguard Windsor II Fund Investor Shares                        Registered Investment   Company    ***              10,308,797

                                                                                                Total Investments $     1,291,975,826




*     The information in this schedule has been certified as to its completeness and accuracy by the custodians.
**    These are permitted party-in-interest transactions as defined by ERISA.
***   Cost information is not required for participant directed investments and therefore is not included.




                                                                 14
                                                                                                                       Exhibit 5
                                 Case 1:16-cv-06284-AT Document 47-6 Filed 01/09/17 Page 10 of 25


             Form 5500                                  Annual Return/Report of Employee Benefit Plan                                                                                        OMB Nos. 1210-0110
                                                                                                                                                                                                      1210-0089
                                                      This form is required to be filed for employee benefit plans under sections 104
          Department of the Treasury                 and 4065 of the Employee Retirement Income Security Act of 1974 (ERISA) and
           Internal Revenue Service
                                                     sections 6047(e), 6057(b), and 6058(a) of the Internal Revenue Code (the Code).
            Department of Labor
                                                                                                                                                                                            2012
          Employee Benefits Security                                          Complete all entries in accordance with
                Administration                                                  the instructions to the Form 5500.
     Pension Benefit Guaranty Corporation
                                                                                                                                                                           This Form is Open to Public
                                                                                                                                                                                   Inspection
 Part I         Annual Report Identification Information
For calendar plan year 2012 or fiscal plan year beginning                  01/01/2012                                                   and ending          12/31/2012
A    This return/report is for:                           X   a multiemployer plan;                            X   a multiple-employer plan; or
                                                          X   a single-employer plan;                          X   a DFE (specify)             _C_

B    This return/report is:                               X   the first return/report;                         X   the final return/report;
                                                          X   an amended return/report;                        X   a short plan year return/report (less than 12 months).

C    If the plan is a collectively-bargained plan, check here. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   X
D    Check box if filing under:                           X Form 5558;
                                                          X                                                    X   automatic extension;                X the DFVC program;
                                                          X   special extension (enter description) ABCDEFGHI                          ABCDEFGHI ABCDEFGHI ABCDE
 Part II    Basic Plan Information—enter all requested information
1a Name of plan                                                                                                                                                              1b    Three-digit plan
                                                                                                                                                                                                          005
                                                                                                                                                                                                          001
ABCDEFGHI
NYU SCHOOL OF ABCDEFGHI    ABCDEFGHI
                MEDICINE RETIREMENT    ABCDEFGHI
                                    PLAN FOR MEMBERS    ABCDEFGHI     ABCDEFGHI
                                                           OF THE FACULTY,        ABCDEFGHI
                                                                           PROFESSIONAL RESEARCH                                                                                   number (PN) 
STAFF AND ADMINISTRATION
ABCDEFGHI     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                    1c    Effective date of plan
                                                                                                                                                                                   YYYY-MM-DD
                                                                                                                                                                                   01/01/1952
2a    Plan sponsor’s name and address; include room or suite number (employer, if for a single-employer plan)                                                                2b    Employer Identification
                                                                                                                                                                                   Number (EIN)
NEW YORK UNIVERSITY                                                                                                                                                                XX-XXXXXXX
                                                                                                                                                                                   012345678
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                        2c     Sponsor’s telephone
D/B/A ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                                   number
ABCDEFGHI                                                                                                                                                                           0123456789
                                                                                                                                                                                        212-887-1270
726 BROADWAY, 8TH FLOOR
c/o   ABCDEFGHI
NEW YORK, NY 10003 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                               2d     Business code (see
123456789 ABCDEFGHI ABCDEFGHI ABCDE                                                                                                                                                 instructions)
                                                                                                                                                                                    611000
                                                                                                                                                                                    012345
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITYEFGHI ABCDEFGHI AB, ST 012345678901
UK

Caution: A penalty for the late or incomplete filing of this return/report will be assessed unless reasonable cause is established.
Under penalties of perjury and other penalties set forth in the instructions, I declare that I have examined this return/report, including accompanying schedules,
statements and attachments, as well as the electronic version of this return/report, and to the best of my knowledge and belief, it is true, correct, and complete.


SIGN         Filed with authorized/valid electronic signature.                                         YYYY-MM-DD
                                                                                                       10/14/2013                 ABCDEFGHI   ABCDEFGHI ABCDEFGHI ABCDE
                                                                                                                                  MARGARET M. MEAGHER
HERE
              Signature of plan administrator                                                          Date                       Enter name of individual signing as plan administrator


SIGN                                                                                                   YYYY-MM-DD                 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
HERE
              Signature of employer/plan sponsor                                                       Date                       Enter name of individual signing as employer or plan sponsor


SIGN                                                                                                   YYYY-MM-DD                 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
HERE
          Signature of DFE                                                  Date                Enter name of individual signing as DFE
Preparer’s name (including firm name, if applicable) and address; include room or suite number. (optional)              Preparer’s telephone number
ABCDEFGHI
RONALD          ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI (optional)
          ARCULEO
                                                                                                                                     215-246-2300
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1700 MARKET STREET
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PHILADELPHIA, PA 19103
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For Paperwork Reduction Act Notice and OMB Control Numbers, see the instructions for Form 5500.                                                                                              Form 5500 (2012)
                                                                                                                                                                                             v. 120126



                                                                                                                                                                             Exhibit 5
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New York University School of Medicine Retirement Plan for Members
of the Faculty, Professional Research Staff and Administration
Notes to Financial Statements
December 31, 2012 and 2011

6.   Tax Status

     The Plan has been designed to qualify for tax-exempt status under Section 403(b) of the Code.
     The terms of the Plan have been prepared to conform with the sample language provided by the
     IRS in Revenue Procedure 2007-71. The Plan is required to operate in conformity with the Code to
     maintain the tax-exempt status for Plan participants under Section 403(b). NYUSOM believes that
     the Plan is currently designed and operating in accordance with the applicable requirements of
     Section 403(b) of the Code and, therefore, believes the Plan is qualified and the related (custodial)
     accounts (and tax-deferred annuities) are tax-exempt. Therefore, no provision for income taxes
     has been included in the Plan’s financial statements.

     Accounting principles generally accepted in the United States of America require Plan
     management to evaluate tax positions taken by the Plan and recognize a tax liability if the Plan has
     taken an uncertain position that more likely than not would not be sustained upon examination by
     the IRS. NYUSOM has analyzed the tax positions taken by the Plan, and has concluded that as of
     December 31, 2012, there are no uncertain positions taken or expected to be taken that would
     require recognition of a liability or disclosure in the financial statements. The Plan is subject to
     routine audits by taxing jurisdictions; however, there are currently no audits for any tax periods in
     progress. NYUSOM believes it is no longer subject to income tax examinations for years prior to
     2009.

7.   Party-In-Interest Transactions

     All of the Plan’s investments are managed by the custodians and therefore, these transactions
     qualify as party-in-interest. The total fair value of investments managed by TIAA-CREF and
     Vanguard was $1,424,054,985 and $1,291,975,829 at December 31, 2012 and 2011, respectively.

8.   Subsequent Events

     NYUSOM has evaluated subsequent events through September 26, 2013, the date the financial
     statements were available to be issued. There were no significant subsequent events noted during
     his period.




                                                   14
                                                                                            Exhibit 5
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New York University School of Medicine Retirement Plan for Members
of the Faculty, Professional Research Staff and Administration
Schedule H, Line 4i- Schedule of Assets (Held at End of Year)*
December 31, 2012

     Identity of Issue Borrower, Lessor, or                                                                      Current
     Similar Party Individual                                            Description of Investment    Cost        Value

**   CREF Bond Market                                                Variable Annuity Contract        ***    $    29,882,101
**   CREF Equity Index                                               Variable Annuity Contract        ***         25,929,411
**   CREF Global Equities                                            Variable Annuity Contract        ***         35,575,760
**   CREF Growth                                                     Variable Annuity Contract        ***         37,737,974
**   CREF Inflation-Linked Bond                                      Variable Annuity Contract        ***         28,117,206
**   CREF Money Market                                               Variable Annuity Contract        ***         30,473,029
**   CREF Social Choice                                              Variable Annuity Contract        ***         17,193,174
**   CREF Stock                                                      Variable Annuity Contract        ***        294,746,496
**   TIAA Real Estate                                                Pooled Separate Account          ***         39,161,196
**   TIAA Retirement Annuity                                         Guaranteed Investment Contract   ***        393,706,579
**   TIAA Group Supplemental Retirement Annuity                      Guaranteed Investment Contract   ***         97,045,091
**   Vanguard 500 Index Fund Investor Shares                         Registered Investment Company    ***         35,270,207
**   Vanguard Admiral Treasury Money Market Fund                     Registered Investment Company    ***          1,999,892
**   Vanguard Balanced Index Fund Investor Shares                    Registered Investment Company    ***          6,799,694
**   Vanguard Capital Opportunity Fund Investor Shares               Registered Investment Company    ***          8,378,540
**   Vanguard Capital Value Fund                                     Registered Investment Company    ***          1,061,742
**   Vanguard Convertible Securities Fund                            Registered Investment Company    ***            894,108
**   Vanguard Developed Markets Index Fund                           Registered Investment Company    ***          1,595,925
**   Vanguard Dividend Growth Fund                                   Registered Investment Company    ***          3,006,164
**   Vanguard Emerging Markets Stock Index Fund Investor Shares      Registered Investment Company    ***          8,464,423
**   Vanguard Equity Income Fund Investor Shares                     Registered Investment Company    ***          4,547,415
**   Vanguard European Stock Index Fund Investor Shares              Registered Investment Company    ***          1,189,234
**   Vanguard Explorer Fund Investor Shares                          Registered Investment Company    ***          6,414,502
**   Vanguard Extended Market Index Fund Investor Shares             Registered Investment Company    ***          1,215,346
**   Vanguard Federal Money Market Fund                              Registered Investment Company    ***          1,649,428
**   Vanguard FTSE Social Index Fund Investor Shares                 Registered Investment Company    ***            112,304
**   Vanguard Global Equity Fund                                     Registered Investment Company    ***          3,023,225
**   Vanguard GNMA Fund Investor Shares                              Registered Investment Company    ***          3,074,044
**   Vanguard Growth and Income Fund Investor Shares                 Registered Investment Company    ***          2,451,725
**   Vanguard Growth Equity Fund                                     Registered Investment Company    ***            798,222
**   Vanguard Growth Index Fund Investor Shares                      Registered Investment Company    ***          5,048,224
**   Vanguard High-Yield Corporate Fund Investor Shares              Registered Investment Company    ***          4,929,221
**   Vanguard Inflation-Protected Securities Fund Investor Shares    Registered Investment Company    ***          7,013,171
**   Vanguard Intermediate-Term Bond Index Fund Investor Shares      Registered Investment Company    ***          2,614,783
**   Vanguard Intermediate-Term Investment Grade Investor Share      Registered Investment Company    ***          1,562,048
**   Vanguard Intermediate-Term Invt Gd Admin                        Registered Investment Company    ***          1,342,360
**   Vanguard International Explorer Fund                            Registered Investment Company    ***          4,495,083
**   Vanguard International Growth Fund Investor Shares              Registered Investment Company    ***          8,512,014
**   Vanguard International Value Fund                               Registered Investment Company    ***          2,200,042
**   Vanguard LifeStrategy Conservative Growth Fund                  Registered Investment Company    ***          1,084,169
**   Vanguard LifeStrategy Growth Fund                               Registered Investment Company    ***          2,252,480
**   Vanguard LifeStrategy Income Fund                               Registered Investment Company    ***            618,197
**   Vanguard LifeStrategy Moderate Growth Fund                      Registered Investment Company    ***          4,075,991
**   Vanguard Long-Term Bond Index Fund                              Registered Investment Company    ***          2,568,665
**   Vanguard Long-Term Investment Grade - Invest Share              Registered Investment Company    ***          4,006,492
**   Vanguard Long-Term Treasury Fund Investor Shares                Registered Investment Company    ***          6,848,325




                                                                    15
                                                                                                             Exhibit 5
           Case 1:16-cv-06284-AT Document 47-6 Filed 01/09/17 Page 13 of 25

New York University School of Medicine Retirement Plan for Members
of the Faculty, Professional Research Staff and Administration
Schedule H, Line 4i- Schedule of Assets (Held at End of Year)*
December 31, 2012

      Identity of Issue Borrower, Lessor, or                                                                  Current
      Similar Party Individual                                         Description of Investment   Cost        Value

**    Vanguard Mid-Cap Growth Fund                                 Registered Investment Company   ***          2,183,697
**    Vanguard Mid-Cap Index Fund Investor Shares                  Registered Investment Company   ***          4,149,544
**    Vanguard Morgan Growth Fund Investor Shares                  Registered Investment Company   ***          4,545,796
**    Vanguard Pacific Stock Index Fund Investor Shares            Registered Investment Company   ***         29,264,458
**    Vanguard Prime Money Market Fund                             Registered Investment Company   ***          1,019,589
**    Vanguard PRIMECAP Fund Investor Shares                       Registered Investment Company   ***         20,276,693
**    Vanguard REIT Index Fund Investor Shares                     Registered Investment Company   ***          6,428,747
**    Vanguard Selected Value Fund                                 Registered Investment Company   ***          2,586,043
**    Vanguard Short-Term Bond Index Fund Investor Shares          Registered Investment Company   ***          2,475,719
**    Vanguard Short-Term Federal Fund Investor Shares             Registered Investment Company   ***            725,581
**    Vanguard Short-Term Investment-Grade Fund Investor Shares    Registered Investment Company   ***          3,878,261
**    Vanguard Short-Term Treasury Fund Investor Shares            Registered Investment Company   ***            493,213
**    Vanguard Small-Cap Growth Index Fund                         Registered Investment Company   ***          3,966,272
**    Vanguard Small-Cap Index Fund Investor Shares                Registered Investment Company   ***          2,477,625
**    Vanguard Small-Cap Value Index Fund                          Registered Investment Company   ***          2,095,393
**    Vanguard STAR Fund                                           Registered Investment Company   ***          5,127,504
**    Vanguard Strategic Equity Fund                               Registered Investment Company   ***          1,784,243
**    Vanguard Target Retirement 2010 Fund                         Registered Investment Company   ***            452,139
**    Vanguard Target Retirement 2015 Fund                         Registered Investment Company   ***          5,444,804
**    Vanguard Target Retirement 2020 Fund                         Registered Investment Company   ***          1,927,745
**    Vanguard Target Retirement 2025 Fund                         Registered Investment Company   ***          6,966,697
**    Vanguard Target Retirement 2030 Fund                         Registered Investment Company   ***          1,846,581
**    Vanguard Target Retirement 2035 Fund                         Registered Investment Company   ***         10,452,790
**    Vanguard Target Retirement 2040 Fund                         Registered Investment Company   ***          2,210,652
**    Vanguard Target Retirement 2045 Fund                         Registered Investment Company   ***          6,497,873
**    Vanguard Target Retirement 2050 Fund                         Registered Investment Company   ***            202,915
**    Vanguard Target Retirement 2055 Fund                         Registered Investment Company   ***             68,664
**    Vanguard Target Retirement 2060 Fund                         Registered Investment Company   ***             29,718
**    Vanguard Target Retirement Income                            Registered Investment Company   ***          1,217,606
**    Vanguard Total Bond Market Index Fund Investor Shares        Registered Investment Company   ***         13,659,804
**    Vanguard Total International Stock Index Fund                Registered Investment Company   ***          6,040,393
**    Vanguard Total Stock Market Index Fund Investor Shares       Registered Investment Company   ***         16,759,495
**    Vanguard U.S. Growth Fund Investor Shares                    Registered Investment Company   ***          5,299,010
**    Vanguard U.S. Value Fund                                     Registered Investment Company   ***          1,126,631
**    Vanguard Value Index Fund Investor Shares                    Registered Investment Company   ***          1,121,453
**    Vanguard Wellesley Income Fund Investor Shares               Registered Investment Company   ***          8,373,536
**    Vanguard Wellington Fund Investor Shares                     Registered Investment Company   ***         14,297,284
**    Vanguard Windsor Fund Investor Shares                        Registered Investment Company   ***         33,487,055
**    Vanguard Windsor II Fund Investor Shares                     Registered Investment Company   ***         12,408,340
            Total Investments                                                                             $ 1,424,054,985


*       The information in this schedule has been certified as to its completeness and accuracy by the
        custodians.
**      These are permitted party-in-interest transactions as defined by ERISA.
***     Cost information is not required for participant directed investments and therefore is not included.




                                                                  16
                                                                                                          Exhibit 5
                               Case 1:16-cv-06284-AT Document 47-6 Filed 01/09/17 Page 14 of 25


            Form 5500                               Annual Return/Report of Employee Benefit Plan                                                                                OMB Nos. 1210-0110
                                                                                                                                                                                          1210-0089
                                                  This form is required to be filed for employee benefit plans under sections 104
         Department of the Treasury              and 4065 of the Employee Retirement Income Security Act of 1974 (ERISA) and
          Internal Revenue Service               sections 6047(e), 6057(b), and 6058(a) of the Internal Revenue Code (the Code).                                             2013
           Department of Labor
         Employee Benefits Security                                     Complete all entries in accordance with
              Administration                                              the instructions to the Form 5500.
                                                                                                                                                               This Form is Open to Public
    Pension Benefit Guaranty Corporation
                                                                                                                                                                       Inspection
 Part I        Annual Report Identification Information
For calendar plan year 2013 or fiscal plan year beginning                  01/01/2013                                          and ending        12/31/2013
A This return/report is for:                          X a multiemployer plan;                          X a multiple-employer plan; or
                                                      X a single-employer plan;                        X a DFE (specify)     _C_

B This return/report is:                              X the first return/report;                       X the final return/report;
                                                      X an amended return/report;                      X a short plan year return/report (less than 12 months).
C If the plan is a collectively-bargained plan, check here. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . X
D Check box if filing under:                 X Form 5558;                                          X automatic extension;                                                X the DFVC program;
                                             X special extension (enter description) ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
 Part II    Basic Plan Information—enter all requested information
1a Name of plan                                                                                                                                                  1b Three-digit plan
                                                                                                                                                                                              005
ABCDEFGHI
NYU SCHOOL OF ABCDEFGHI    ABCDEFGHI
                MEDICINE RETIREMENT    ABCDEFGHI
                                    PLAN FOR MEMBERS    ABCDEFGHI    ABCDEFGHI
                                                           OF THE FACULTY,        ABCDEFGHI
                                                                           PROFESSIONAL RESEARCH                                                                       number (PN)           001
STAFF AND ADMINISTRATION
ABCDEFGHI     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                        1c    Effective date of plan
                                                                                                                                                                       YYYY-MM-DD
                                                                                                                                                                       01/01/1952
2a Plan sponsor’s name and address; include room or suite number (employer, if for a single-employer plan)                                                       2b Employer Identification
                                                                                                                                                                       Number (EIN)
NEW YORK UNIVERSITY                                                                                                                                                    XX-XXXXXXX
                                                                                                                                                                       012345678
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                            2c Sponsor’s telephone
D/B/A ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                      number
ABCDEFGHI                                                                                                                                                              0123456789
                                                                                                                                                                           212-887-1270
726 BROADWAY, 8TH FLOOR
c/o  ABCDEFGHI
NEW YORK, NY 10003ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                    2d Business code (see
123456789 ABCDEFGHI ABCDEFGHI ABCDE                                                                                                                                    instructions)
                                                                                                                                                                       611000
                                                                                                                                                                       012345
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITYEFGHI ABCDEFGHI AB, ST 012345678901
UK
Caution: A penalty for the late or incomplete filing of this return/report will be assessed unless reasonable cause is established.
Under penalties of perjury and other penalties set forth in the instructions, I declare that I have examined this return/report, including accompanying schedules,
statements and attachments, as well as the electronic version of this return/report, and to the best of my knowledge and belief, it is true, correct, and complete.


SIGN       Filed with authorized/valid electronic signature.                                    YYYY-MM-DD
                                                                                                10/14/2014               ABCDEFGHI   ABCDEFGHI ABCDEFGHI ABCDE
                                                                                                                         MARGARET M. MEAGHER
HERE
            Signature of plan administrator                                                     Date                     Enter name of individual signing as plan administrator

SIGN        Filed with authorized/valid electronic signature.                                   YYYY-MM-DD
                                                                                                10/14/2014               ABCDEFGHI
                                                                                                                         MARGARET M. ABCDEFGHI
                                                                                                                                     MEAGHER   ABCDEFGHI ABCDE
HERE
            Signature of employer/plan sponsor                                                  Date                     Enter name of individual signing as employer or plan sponsor

SIGN                                                                                            YYYY-MM-DD               ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
HERE
          Signature of DFE                                                  Date                Enter name of individual signing as DFE
Preparer’s name (including firm name, if applicable) and address; include room or suite number. (optional)              Preparer’s telephone number
ABCDEFGHI
RONALD ARCULEO  ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI (optional)
                                                                                                                                     215-246-2300
ABCDEFGHI
DELOITTE TAX ABCDEFGHI ABCDEFGHIABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
1700 MARKET STREET
ABCDEFGHI    ABCDEFGHI ABCDEFGHI ABCDEFGHIABCDEFGHI ABCDEFGHI ABCDEFGHI
PHILADELPHIA, PA 19103
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For Paperwork Reduction Act Notice and OMB Control Numbers, see the instructions for Form 5500.                                                                                  Form 5500 (2013)
                                                                                                                                                                                 v. 130118




                                                                                                                                                                 Exhibit 5
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New York University School of Medicine Retirement Plan for Members
of the Faculty, Professional Research Staff and Administration
Notes to Financial Statements
December 31, 2013 and 2012

6.   Tax Status

     The Plan has been designed to qualify for tax-exempt status under Section 403(b) of the Code.
     The terms of the Plan have been prepared to conform with the sample language provided by the
     IRS in Revenue Procedure 2007-71. The Plan is required to operate in conformity with the Code to
     maintain the tax-exempt status for Plan participants under Section 403(b). NYUSOM believes that
     the Plan is currently designed and operating in accordance with the applicable requirements of
     Section 403(b) of the Code and, therefore, believes the Plan is qualified and the related (custodial)
     accounts (and tax-deferred annuities) are tax-exempt. Therefore, no provision for income taxes
     has been included in the Plan’s financial statements.

     U.S. GAAP requires Plan management to evaluate tax positions taken by the Plan and recognize a
     tax liability if the Plan has taken an uncertain position that more likely than not would not be
     sustained upon examination by the IRS. NYUSOM has analyzed the tax positions taken by the
     Plan, and has concluded that as of December 31, 2013, there are no uncertain positions taken or
     expected to be taken that would require recognition of a liability or disclosure in the financial
     statements. The Plan is subject to routine audits by taxing jurisdictions; however, there are
     currently no audits for any tax periods in progress. NYUSOM believes it is no longer subject to
     income tax examinations for years prior to 2010.

7.   Party-in-Interest Transactions

     All of the Plan’s investments are managed by the custodian and therefore, these transactions
     qualify as party-in-interest. The total fair value of investments managed by TIAA-CREF was
     $1,647,604,664 and $1,424,054,985 at December 31, 2013 and 2012, respectively.

8.   Subsequent Events

     NYUSOM has evaluated subsequent events through October 10, 2014, the date the financial
     statements were available to be issued. There were no significant subsequent events noted during
     his period.




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                                                                                            Exhibit 5
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New York University School of Medicine Retirement Plan for Members
of the Faculty, Professional Research Staff and Administration
Schedule H, Line 4i- Schedule of Assets (Held at End of Year)*
December 31, 2013

     Identity of Issue, Borrower, Lessor
     or Similar Party Individual                                         Description of Investment   Cost         Fair Value

**   CREF Bond Market                                               Variable Annuity Contract           ***   $    26,513,171
**   CREF Equity Index                                              Variable Annuity Contract           ***        34,382,983
**   CREF Global Equities                                           Variable Annuity Contract           ***        44,630,453
**   CREF Growth                                                    Variable Annuity Contract           ***        48,465,396
**   CREF Inflation-Linked Bond                                     Variable Annuity Contract           ***        19,200,996
**   CREF Money Market                                              Variable Annuity Contract           ***        27,842,265
**   CREF Social Choice                                             Variable Annuity Contract           ***        20,363,492
**   CREF Stock                                                     Variable Annuity Contract           ***       349,645,140
**   TIAA Real Estate                                               Pooled Separate Account             ***        46,598,118
**   TIAA Retirement Annuity                                        Guaranteed Investment Contract      ***       399,792,708
**   TIAA Group Supplemental Retirement Annuity                     Guaranteed Investment Contract      ***       104,001,317
**   Vanguard Admiral Treasury Money Market Fund                    Registered Investment Company       ***         1,550,894
**   Vanguard Balanced Index Fund Investor Shares                   Registered Investment Company       ***         9,356,875
**   Vanguard Capital Opportunity Fund Investor Shares              Registered Investment Company       ***        12,264,734
**   Vanguard Capital Value Fund                                    Registered Investment Company       ***         2,655,404
**   Vanguard Convertible Securities Fund                           Registered Investment Company       ***         1,327,070
**   Vanguard Developed Markets Index Fund                          Registered Investment Company       ***         2,596,988
**   Vanguard Dividend Growth Fund                                  Registered Investment Company       ***         5,823,033
**   Vanguard Emerging Markets Stock Index Fund Investor Shares     Registered Investment Company       ***         7,583,132
**   Vanguard Equity Income Fund Investor Shares                    Registered Investment Company       ***         6,421,297
**   Vanguard European Stock Index Fund Investor Shares             Registered Investment Company       ***         1,885,176
**   Vanguard Explorer Fund Investor Shares                         Registered Investment Company       ***         9,105,758
**   Vanguard Extended Market Index Fund Investor Shares            Registered Investment Company       ***         2,103,429
**   Vanguard Federal Money Market Fund                             Registered Investment Company       ***         1,400,334
**   Vanguard FTSE Social Index Fund Investor Shares                Registered Investment Company       ***           153,680
**   Vanguard Global Equity Fund                                    Registered Investment Company       ***         5,021,822
**   Vanguard GNMA Fund Investor Shares                             Registered Investment Company       ***         2,732,111
**   Vanguard Growth and Income Fund Investor Shares                Registered Investment Company       ***         6,581,989
**   Vanguard Growth Equity Fund                                    Registered Investment Company       ***         1,136,200
**   Vanguard Growth Index Fund Investor Shares                     Registered Investment Company       ***         3,546,493
**   Vanguard High-Yield Corporate Fund Investor Shares             Registered Investment Company       ***         5,554,327
**   Vanguard Inflation-Protected Securities Fund Investor Shares   Registered Investment Company       ***         5,071,776
**   Vanguard Institutional Index Fund                              Registered Investment Company       ***        48,394,398
**   Vanguard Intermediate-Term Bond Index Fund Investor Shares     Registered Investment Company       ***         3,102,615
**   Vanguard Intermediate-Term Investment Grade Investor Share     Registered Investment Company       ***         1,338,302
**   Vanguard Intermediate-Term Invt Gd Admin                       Registered Investment Company       ***         1,458,217
**   Vanguard International Explorer Fund                           Registered Investment Company       ***         6,323,913
**   Vanguard International Growth Fund Investor Shares             Registered Investment Company       ***        10,932,657
**   Vanguard International Value Fund                              Registered Investment Company       ***         3,538,110
**   Vanguard LifeStrategy Conservative Growth Fund                 Registered Investment Company       ***         1,289,092
**   Vanguard LifeStrategy Growth Fund                              Registered Investment Company       ***         2,920,502
**   Vanguard LifeStrategy Income Fund                              Registered Investment Company       ***           563,945
**   Vanguard LifeStrategy Moderate Growth Fund                     Registered Investment Company       ***         5,039,996
**   Vanguard Long-Term Bond Index Fund                             Registered Investment Company       ***         1,812,387
**   Vanguard Long-Term Investment Grade - Invest Share             Registered Investment Company       ***         3,602,134
**   Vanguard Long-Term Treasury Fund Investor Shares               Registered Investment Company       ***         5,603,410
**   Vanguard Mid-Cap Growth Fund                                   Registered Investment Company       ***         3,748,303
**   Vanguard Mid-Cap Index Fund Investor Shares                    Registered Investment Company       ***         7,305,216
**   Vanguard Morgan Growth Fund Investor Shares                    Registered Investment Company       ***         5,777,643
**   Vanguard Pacific Stock Index Fund Investor Shares              Registered Investment Company       ***         1,298,088
**   Vanguard Prime Money Market Fund                               Registered Investment Company       ***        18,566,681
**   Vanguard PRIMECAP Fund Investor Shares                         Registered Investment Company       ***        39,569,243
**   Vanguard REIT Index Fund Investor Shares                       Registered Investment Company       ***         6,820,660
**   Vanguard Selected Value Fund                                   Registered Investment Company       ***         4,960,644
**   Vanguard Short-Term Bond Index Fund Investor Shares            Registered Investment Company       ***         2,787,771
**   Vanguard Short-Term Federal Fund Investor Shares               Registered Investment Company       ***           767,911
**   Vanguard Short-Term Investment-Grade Fund Investor Shares      Registered Investment Company       ***         5,540,501
**   Vanguard Short-Term Treasury Fund Investor Shares              Registered Investment Company       ***           616,309




                                                                    15
                                                                                                              Exhibit 5
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New York University School of Medicine Retirement Plan for Members
of the Faculty, Professional Research Staff and Administration
Schedule H, Line 4i- Schedule of Assets (Held at End of Year)*, continued
December 31, 2013

      Identity of Issue Borrower, Lessor, or                                                               Current
      Similar Party Individual                                      Description of Investment   Cost       Value

**    Vanguard Small-Cap Growth Index Fund                     Registered Investment Company    ***         4,496,898
**    Vanguard Small-Cap Index Fund Investor Shares            Registered Investment Company    ***         6,738,386
**    Vanguard Small-Cap Value Index Fund                      Registered Investment Company    ***         4,252,801
**    Vanguard STAR Fund                                       Registered Investment Company    ***         5,279,266
**    Vanguard Strategic Equity Fund                           Registered Investment Company    ***         2,992,671
**    Vanguard Target Retirement 2010 Fund                     Registered Investment Company    ***         1,061,070
**    Vanguard Target Retirement 2015 Fund                     Registered Investment Company    ***         6,116,603
**    Vanguard Target Retirement 2020 Fund                     Registered Investment Company    ***         5,673,997
**    Vanguard Target Retirement 2025 Fund                     Registered Investment Company    ***        11,967,066
**    Vanguard Target Retirement 2030 Fund                     Registered Investment Company    ***         5,452,550
**    Vanguard Target Retirement 2035 Fund                     Registered Investment Company    ***        16,957,297
**    Vanguard Target Retirement 2040 Fund                     Registered Investment Company    ***         6,325,226
**    Vanguard Target Retirement 2045 Fund                     Registered Investment Company    ***        12,164,564
**    Vanguard Target Retirement 2050 Fund                     Registered Investment Company    ***           910,063
**    Vanguard Target Retirement 2055 Fund                     Registered Investment Company    ***           247,225
**    Vanguard Target Retirement 2060 Fund                     Registered Investment Company    ***           296,252
**    Vanguard Target Retirement Income                        Registered Investment Company    ***         1,417,860
**    Vanguard Total Bond Market Index Fund Investor Shares    Registered Investment Company    ***        13,625,603
**    Vanguard Total International Stock Index Fund            Registered Investment Company    ***         8,025,075
**    Vanguard Total Stock Market Index Fund Investor Shares   Registered Investment Company    ***        26,293,396
**    Vanguard U.S. Growth Fund Investor Shares                Registered Investment Company    ***         7,123,026
**    Vanguard U.S. Value Fund                                 Registered Investment Company    ***         2,289,387
**    Vanguard Value Index Fund Investor Shares                Registered Investment Company    ***         1,734,955
**    Vanguard Wellesley Income Fund Investor Shares           Registered Investment Company    ***        10,464,991
**    Vanguard Wellington Fund Investor Shares                 Registered Investment Company    ***        16,545,680
**    Vanguard Windsor Fund Investor Shares                    Registered Investment Company    ***        43,604,867
**    Vanguard Windsor II Fund Investor Shares                 Registered Investment Company    ***        16,560,680
                                                                                                       $ 1,647,604,664




*         The information in this schedule has been certified as to its completeness and accuracy by the
          custodian.

**        These are permitted party-in-interest transactions as defined by ERISA.

***       Cost information is not required for participant-directed investments and therefore is not included.




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                                                                                                       Exhibit 5
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             Form 5500                                  Annual Return/Report of Employee Benefit Plan                                                                                      OMB Nos. 1210-0110
                                                                                                                                                                                                    1210-0089
                                                       This form is required to be filed for employee benefit plans under sections 104
         Department of the Treasury                   and 4065 of the Employee Retirement Income Security Act of 1974 (ERISA) and
          Internal Revenue Service
                                                      sections 6047(e), 6057(b), and 6058(a) of the Internal Revenue Code (the Code).
            Department of Labor
                                                                                                                                                                                        2014
          Employee Benefits Security                                          Complete all entries in accordance with
                Administration                                                  the instructions to the Form 5500.
     Pension Benefit Guaranty Corporation
                                                                                                                                                                           This Form is Open to Public
                                                                                                                                                                                   Inspection
 Part I         Annual Report Identification Information
For calendar plan year 2014 or fiscal plan year beginning 01/01/2014                                                                    and ending 12/31/2014

A    This return/report is for:
                                                  X   a multiemployer plan;                               X a multiple-employer plan (Filers checking this box must attach a list of
                                                                                                              participating employer information in accordance with the form instructions); or
                                                  X   a single-employer plan;                             X   a DFE (specify)      _C_
B    This return/report is:                       X   the first return/report;                            X   the final return/report;
                                                  X   an amended return/report;                           X   a short plan year return/report (less than 12 months).
C                                                                                                                               X
     If the plan is a collectively-bargained plan, check here. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
D    Check box if filing under:                  X    Form 5558;                             X automatic extension;    X the DFVC program;
                                                 X    special extension (enter description) ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
 Part II    Basic Plan Information—enter all requested information
1a Name of plan                                                                                                                                                              1b     Three-digit plan       005
NYU SCHOOL OF
ABCDEFGHI       MEDICINE RETIREMENT
              ABCDEFGHI    ABCDEFGHIPLAN FOR MEMBERS
                                       ABCDEFGHI           OF THE FACULTY,
                                                        ABCDEFGHI          PROFESSIONAL
                                                                     ABCDEFGHI          RESEARCH
                                                                                  ABCDEFGHI                                                                                         number (PN)           001
STAFF AND ADMINISTRATION
ABCDEFGHI     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                    1c     Effective date of plan
                                                                                                                                                                                    01/01/1952
                                                                                                                                                                                    YYYY-MM-DD
2a    Plan sponsor’s name and address; include room or suite number (employer, if for a single-employer plan)                                                                2b     Employer Identification
NEW YORK UNIVERSITY                                                                                                                                                                 Number (EIN)
                                                                                                                                                                                    XX-XXXXXXX
                                                                                                                                                                                    012345678
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                        2c     Plan Sponsor’s telephone
D/B/A ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                                   number
726 BROADWAY, 8TH FLOOR
ABCDEFGHI                                                                                                                                                                                212-887-1270
                                                                                                                                                                                    0123456789
NEW YORK, NY 10003
c/o ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                    2d     Business code (see
123456789 ABCDEFGHI ABCDEFGHI ABCDE                                                                                                                                                 instructions)
123456789 ABCDEFGHI ABCDEFGHI ABCDE                                                                                                                                                 012345
                                                                                                                                                                                    611000
CITYEFGHI ABCDEFGHI AB, ST 012345678901
UK

Caution: A penalty for the late or incomplete filing of this return/report will be assessed unless reasonable cause is established.
Under penalties of perjury and other penalties set forth in the instructions, I declare that I have examined this return/report, including accompanying schedules,
statements and attachments, as well as the electronic version of this return/report, and to the best of my knowledge and belief, it is true, correct, and complete.


SIGN        Filed with authorized/valid electronic signature.                                          10/15/2015
                                                                                                       YYYY-MM-DD                 MARGARET
                                                                                                                                  ABCDEFGHIM. MEAGHER
                                                                                                                                              ABCDEFGHI                         ABCDEFGHI ABCDE
HERE
              Signature of plan administrator                                                          Date                       Enter name of individual signing as plan administrator


SIGN Filed with authorized/valid electronic signature.                                                 10/15/2015
                                                                                                       YYYY-MM-DD                 MARGARET
                                                                                                                                  ABCDEFGHIM. MEAGHER
                                                                                                                                              ABCDEFGHI                         ABCDEFGHI ABCDE
HERE
      Signature of employer/plan sponsor                                                               Date                       Enter name of individual signing as employer or plan sponsor


SIGN                                                                                                   YYYY-MM-DD                 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
HERE
          Signature of DFE                                                  Date                Enter name of individual signing as DFE
Preparer’s name (including firm name, if applicable) and address (include room or suite number) (optional)              Preparer’s telephone number
ABCDEFGHI
RONALD          ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI (optional)
          ARCULEO
ABCDEFGHI ABCDEFGHI ABCDEFGHIABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                 215-246-2300
DELOITTE TAX
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
1700 MARKET STREET
ABCDEFGHI     ABCDEFGHI
                     ABCDEFGHI ABCDEFGHIABCDEFGHI ABCDEFGHI ABCDEFGHI
PHILADELPHIA, PA 19103
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ABCDEFGHI ABCDEFGHI
For Paperwork Reduction Act Notice and OMB Control Numbers, see the instructions for Form 5500.                                                                                            Form 5500 (2014)
                                                                                                                                                                                           v. 140124



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New York University School of Medicine Retirement Plan for Members
of the Faculty, Professional Research Staff and Administration
Notes to Financial Statements
December 31, 2014 and 2013

7.   Party-in-Interest Transactions

     Certain of the Plan’s investments are managed by the custodian and therefore, these transactions
     qualify as party-in-interest. The total fair value of investments managed by TIAA-CREF was
     $1,144,882,737 and $1,121,436,039 at December 31, 2014 and 2013, respectively. The Plan
     administrator and the Plan’s counsel believe that the Plan’s transactions with related parties are
     permitted by the U.S. Department of Labor’s prohibited transaction exemptions.

8.   Subsequent Events

     Effective January 1, 2015, TIAA-CREF Trust Company, FSB replaced J.P. Morgan as the
     custodian for the Plan’s investments in the TIAA-CREF Institutional Mutual Funds.

     NYUSOM has evaluated subsequent events through October 07, 2015, the date the financial
     statements were available to be issued. Other than above, there were no significant subsequent
     events noted during this period.




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                                                                                          Exhibit 5
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New York University School of Medicine Retirement Plan for Members
of the Faculty, Professional Research Staff and Administration
Schedule H, Line 4i- Schedule of Assets (Held at End of Year)*, continued
December 31, 2014

     Identity of Issue, Borrower, Lessor
     or Similar Party Individual                                              Description of Investment    Cost         Fair Value

**   CREF Bond Market                                                     Variable Annuity Contract           ***   $    24,254,636
**   CREF Equity Index                                                    Variable Annuity Contract           ***        35,986,785
**   CREF Global Equities                                                 Variable Annuity Contract           ***        46,109,055
**   CREF Growth                                                          Variable Annuity Contract           ***        53,760,388
**   CREF Inflation-Linked Bond                                           Variable Annuity Contract           ***        18,662,810
**   CREF Money Market                                                    Variable Annuity Contract           ***        25,896,886
**   CREF Social Choice                                                   Variable Annuity Contract           ***        22,150,527
**   CREF Stock                                                           Variable Annuity Contract           ***       334,873,654
**   TIAA Real Estate                                                     Pooled Separate Account             ***        58,665,476
**   TIAA Retirement Annuity                                              Guaranteed Investment Contract      ***       410,236,628
**   TIAA Group Supplemental Retirement Annuity                           Guaranteed Investment Contract      ***       114,285,892
     Vanguard Admiral Treasury Money Market Fund                          Registered Investment Company       ***         1,467,983
     Vanguard Balanced Index Fund Institutional Shares                    Registered Investment Company       ***        12,514,392
     Vanguard Capital Opportunity Fund Admiral Shares                     Registered Investment Company       ***        15,707,728
     Vanguard Capital Value Fund                                          Registered Investment Company       ***         1,866,988
     Vanguard Convertible Securities Fund                                 Registered Investment Company       ***         1,192,104
     Vanguard Developed Markets Index Fund Admiral Shares                 Registered Investment Company       ***         4,211,771
     Vanguard Dividend Growth Fund                                        Registered Investment Company       ***         6,870,823
     Vanguard Emerging Markets Stock Index Fund Institutional Shares      Registered Investment Company       ***         8,996,611
     Vanguard Equity Income Fund Admiral Shares                           Registered Investment Company       ***         8,487,179
     Vanguard European Stock Index Fund Admiral Shares                    Registered Investment Company       ***         1,780,199
     Vanguard Explorer Fund Admiral Shares                                Registered Investment Company       ***         8,624,181
     Vanguard Extended Market Index Fund Admiral Shares                   Registered Investment Company       ***         2,492,023
     Vanguard Federal Money Market Fund                                   Registered Investment Company       ***         1,190,978
     Vanguard FTSE Social Index Fund Investor Shares                      Registered Investment Company       ***           128,912
     Vanguard Global Equity Fund                                          Registered Investment Company       ***         4,836,135
     Vanguard GNMA Fund Admiral Shares                                    Registered Investment Company       ***         2,570,244
     Vanguard Growth and Income Fund Admiral Shares                       Registered Investment Company       ***         7,746,090
     Vanguard Growth Index Fund Admiral Shares                            Registered Investment Company       ***         4,277,691
     Vanguard High-Yield Corporate Fund Admiral Shares                    Registered Investment Company       ***         6,180,011
     Vanguard Inflation-Protected Securities Fund Institutional Shares    Registered Investment Company       ***         6,577,827
     Vanguard Institutional Index Fund                                    Registered Investment Company       ***        52,198,111
     Vanguard Intermediate-Term Bond Index Fund Admiral Shares            Registered Investment Company       ***         3,486,687
     Vanguard Intermediate-Term Treasury Fund Admiral Shares              Registered Investment Company       ***         1,228,223
     Vanguard Intermediate-Term Invt Gd Admiral Shares                    Registered Investment Company       ***         2,085,676
     Vanguard International Explorer Fund                                 Registered Investment Company       ***         6,500,204
     Vanguard International Growth Fund Admiral Shares                    Registered Investment Company       ***        10,362,159
     Vanguard International Value Fund                                    Registered Investment Company       ***         5,077,621
     Vanguard LifeStrategy Conservative Growth Fund                       Registered Investment Company       ***         1,444,945
     Vanguard LifeStrategy Growth Fund                                    Registered Investment Company       ***         2,594,939
     Vanguard LifeStrategy Income Fund                                    Registered Investment Company       ***           596,703
     Vanguard LifeStrategy Moderate Growth Fund                           Registered Investment Company       ***         5,388,739
     Vanguard Long-Term Bond Index Fund                                   Registered Investment Company       ***         2,660,384
     Vanguard Long-Term Investment Grade Fund - Admiral Shares            Registered Investment Company       ***         4,732,225
     Vanguard Long-Term Treasury Fund Investor Shares                     Registered Investment Company       ***         7,512,038
     Vanguard Mid-Cap Growth Fund                                         Registered Investment Company       ***         3,702,933
     Vanguard Mid-Cap Index Fund Institutional Shares                     Registered Investment Company       ***        10,864,359
     Vanguard Morgan Growth Fund Admiral Shares                           Registered Investment Company       ***         6,112,260
     Vanguard Pacific Stock Index Fund Admiral Shares                     Registered Investment Company       ***         1,114,713
     Vanguard Prime Money Market Fund                                     Registered Investment Company       ***        18,284,509
     Vanguard PRIMECAP Fund Admiral Shares                                Registered Investment Company       ***        47,423,654
     Vanguard REIT Index Fund Institutional Shares                        Registered Investment Company       ***        11,399,939
     Vanguard Selected Value Fund                                         Registered Investment Company       ***         6,070,290
     Vanguard Short-Term Bond Index Fund Admiral Shares                   Registered Investment Company       ***         3,653,492
     Vanguard Short-Term Federal Fund Admiral Shares                      Registered Investment Company       ***         2,868,240
     Vanguard Short-Term Investment-Grade Fund Institutional Shares       Registered Investment Company       ***         5,498,135
     Vanguard Short-Term Treasury Fund Admiral Shares                     Registered Investment Company       ***           733,461




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                                                                                                                    Exhibit 5
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New York University School of Medicine Retirement Plan for Members
of the Faculty, Professional Research Staff and Administration
Schedule H, Line 4i- Schedule of Assets (Held at End of Year)*, continued
December 31, 2014


      Identity of Issue Borrower, Lessor, or                                                                          Current
      Similar Party Individual                                              Description of Investment    Cost         Value

      Vanguard Small-Cap Growth Index Fund Institutional Shares          Registered Investment Company   ***           4,759,871
      Vanguard Small-Cap Index Fund Institutional Shares                 Registered Investment Company   ***           7,677,201
      Vanguard Small-Cap Value Index Fund Institutional Shares           Registered Investment Company   ***           7,073,300
      Vanguard STAR Fund                                                 Registered Investment Company   ***           5,531,705
      Vanguard Strategic Equity Fund                                     Registered Investment Company   ***           3,874,283
      Vanguard Target Retirement 2010 Fund                               Registered Investment Company   ***           1,722,141
      Vanguard Target Retirement 2015 Fund                               Registered Investment Company   ***           7,472,399
      Vanguard Target Retirement 2020 Fund                               Registered Investment Company   ***          10,184,347
      Vanguard Target Retirement 2025 Fund                               Registered Investment Company   ***          15,594,140
      Vanguard Target Retirement 2030 Fund                               Registered Investment Company   ***           8,880,974
      Vanguard Target Retirement 2035 Fund                               Registered Investment Company   ***          21,932,214
      Vanguard Target Retirement 2040 Fund                               Registered Investment Company   ***          11,681,879
      Vanguard Target Retirement 2045 Fund                               Registered Investment Company   ***          18,355,928
      Vanguard Target Retirement 2050 Fund                               Registered Investment Company   ***           1,944,929
      Vanguard Target Retirement 2055 Fund                               Registered Investment Company   ***             364,317
      Vanguard Target Retirement 2060 Fund                               Registered Investment Company   ***             265,647
      Vanguard Target Retirement Income                                  Registered Investment Company   ***           2,074,975
      Vanguard Total Bond Market Index Fund Institutional Shares         Registered Investment Company   ***          15,706,986
      Vanguard Total International Stock Index Fund                      Registered Investment Company   ***           8,129,186
      Vanguard Total Stock Market Index Fund Institutional Shares        Registered Investment Company   ***          30,411,518
      Vanguard U.S. Growth Fund Admiral Shares                           Registered Investment Company   ***           8,996,534
      Vanguard U.S. Value Fund                                           Registered Investment Company   ***           3,365,071
      Vanguard Value Index Fund Admiral Shares                           Registered Investment Company   ***           3,286,589
      Vanguard Wellesley Income Fund Admiral Shares                      Registered Investment Company   ***          13,475,860
      Vanguard Wellington Fund Admiral Shares                            Registered Investment Company   ***          19,424,221
      Vanguard Windsor Fund Admiral Shares                               Registered Investment Company   ***          44,234,192
      Vanguard Windsor II Fund Admiral Shares                            Registered Investment Company   ***          17,732,974
                                                                                                                  $ 1,770,350,627

*         The information in this schedule has been certified as to its completeness and accuracy by the
          custodian.

**        These are permitted party-in-interest transactions as defined by ERISA.

***       Cost information is not required for participant-directed investments and therefore is not included.




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                                                                                                                Exhibit 5
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             Form 5500                                  Annual Return/Report of Employee Benefit Plan                                                                                        OMB Nos. 1210-0110
                                                                                                                                                                                                      1210-0089
          Department of the Treasury                   This form is required to be filed for employee benefit plans under sections 104
           Internal Revenue Service
                                                      and 4065 of the Employee Retirement Income Security Act of 1974 (ERISA) and
            Department of Labor                       sections 6047(e), 6057(b), and 6058(a) of the Internal Revenue Code (the Code).
          Employee Benefits Security                                                                                                                                                        2015
                Administration
                                                                              Complete all entries in accordance with
     Pension Benefit Guaranty Corporation                                       the instructions to the Form 5500.
                                                                                                                                                                           This Form is Open to Public
                                                                                                                                                                                   Inspection
 Part I         Annual Report Identification Information
For calendar plan year 2015 or fiscal plan year beginning 01/01/2015                                                                    and ending 12/31/2015

A    This return/report is for:
                                                  X   a multiemployer plan;                             X   a multiple-employer plan (Filers checking this box must attach a list of
                                                                                                            participating employer information in accordance with the form instructions); or
                                                  X   a single-employer plan;                           X   a DFE (specify)     _C_
B    This return/report is:                       X   the first return/report;                          X   the final return/report;
                                                  X   an amended return/report;                         X   a short plan year return/report (less than 12 months).
C    If the plan is a collectively-bargained plan, check here. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   X
D    Check box if filing under:                 X   Form 5558;                            X automatic extension;        X the DFVC program;
                                                X   special extension (enter description) ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
  Part II   Basic Plan Information—enter all requested information
1a Name of plan                                                                                                                                                              1b     Three-digit plan
                                                                                                                                                                                    number (PN)           005
                                                                                                                                                                                                           001
ABCDEFGHI
 NYU SCHOOL OFABCDEFGHI   ABCDEFGHI
                MEDICINE RETIREMENT    ABCDEFGHI
                                    PLAN FOR MEMBERS    ABCDEFGHI    ABCDEFGHI
                                                           OF THE FACULTY        ABCDEFGHI
                                                                          PROFESSIONAL RESEARCH
 STAFF AND ADMINISTRATION
ABCDEFGHI     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                    1c     Effective date of plan
                                                                                                                                                                                    01/01/1952
                                                                                                                                                                                    YYYY-MM-DD
2a Plan sponsor’s name (employer, if for a single-employer plan)                                                                                                             2b     Employer Identification
   Mailing address (include room, apt., suite no. and street, or P.O. Box)                                                                                                          Number (EIN)
   City or town, state or province, country, and ZIP or foreign postal code (if foreign, see instructions)                                                                          XX-XXXXXXX
                                                                                                                                                                                    012345678
NEW YORK UNIVERSITY
ABCDEFGHI       ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                  2c     Plan Sponsor’s telephone
D/B/A ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                                   number
ABCDEFGHI                                                                                                                                                                                212-992-5465
                                                                                                                                                                                    0123456789
c/oE 17TH
105   ABCDEFGHI
          STREET ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                 2d     Business code (see
1ST FLOOR
123456789    ABCDEFGHI ABCDEFGHI ABCDE                                                                                                                                              instructions)
NEW YORK, NY 10003                                                                                                                                                                  611000
                                                                                                                                                                                    012345
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITYEFGHI ABCDEFGHI AB, ST 012345678901
UK

Caution: A penalty for the late or incomplete filing of this return/report will be assessed unless reasonable cause is established.
Under penalties of perjury and other penalties set forth in the instructions, I declare that I have examined this return/report, including accompanying schedules,
statements and attachments, as well as the electronic version of this return/report, and to the best of my knowledge and belief, it is true, correct, and complete.


SIGN        Filed with authorized/valid electronic signature.                                          10/17/2016
                                                                                                       YYYY-MM-DD                 MARGARET
                                                                                                                                  ABCDEFGHIM. MEAGHER
                                                                                                                                              ABCDEFGHI                         ABCDEFGHI ABCDE
HERE
              Signature of plan administrator                                                          Date                       Enter name of individual signing as plan administrator


SIGN Filed with authorized/valid electronic signature.                                                 10/17/2016
                                                                                                       YYYY-MM-DD                 MARGARET
                                                                                                                                  ABCDEFGHIM. MEAGHER
                                                                                                                                              ABCDEFGHI                         ABCDEFGHI ABCDE
HERE
      Signature of employer/plan sponsor                                                               Date                       Enter name of individual signing as employer or plan sponsor


SIGN                                                                                                   YYYY-MM-DD                 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
HERE
          Signature of DFE                                                  Date                Enter name of individual signing as DFE
Preparer’s name (including firm name, if applicable) and address (include room or suite number) ABCDEFGHI               Preparer’s telephone number
ABCDEFGHI    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
RONALD ARCULEO
ABCDEFGHI ABCDEFGHIABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                                    215-246-2300
DELOITTE TAX LLP
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
1700 MARKET STREET
ABCDEFGHI    ABCDEFGHI ABCDEFGHIABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
PHILADELPHIA, PA 19103
ABCDEFGHI    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
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ABCDEFGHI
For Paperwork Reduction Act Notice and OMB Control Numbers, see the instructions for Form 5500.                                                                                              Form 5500 (2015)
                                                                                                                                                                                             v. 150123


                                                                                                                                                                             Exhibit 5
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New York University School of Medicine Retirement Plan for Members
of the Faculty, Professional Research Staff and Administration
Notes to Financial Statements
December 31, 2015 and 2014

6.   Tax Status

     The Plan has been designed to qualify for tax-exempt status under Section 403(b) of the Code.
     The terms of the Plan have been prepared to conform with the sample language provided by the
     IRS in Revenue Procedure 2007-71. The Plan is required to operate in conformity with the Code to
     maintain the tax-exempt status for Plan participants under Section 403(b). NYUSOM believes that
     the Plan is currently designed and operating in accordance with the applicable requirements of
     Section 403(b) of the Code and, therefore, believes the Plan is qualified and the related (custodial)
     accounts (and tax-deferred annuities) are tax-exempt. Therefore, no provision for income taxes
     has been included in the Plan’s financial statements.

     U.S. GAAP requires Plan management to evaluate tax positions taken by the Plan and recognize a
     tax liability if the Plan has taken an uncertain position that more likely than not would not be
     sustained upon examination by the IRS. NYUSOM has analyzed the tax positions taken by the
     Plan, and has concluded that as of December 31, 2015, there are no uncertain positions taken or
     expected to be taken that would require recognition of a liability or disclosure in the financial
     statements. The Plan is subject to routine audits by taxing jurisdictions; however, there are
     currently no audits for any tax periods in progress. NYUSOM believes it is no longer subject to
     income tax examinations for years prior to 2012.

7.   Party-in-Interest and Related Party Transactions

     Certain of the Plan’s investments are managed by the custodian and therefore, these transactions
     qualify as party-in-interest. The total fair value of investments managed by TIAA-CREF was
     $1,152,926,978 and $1,144,882,737 at December 31, 2015 and 2014, respectively. The Plan
     administrator and the Plan’s counsel believe that the Plan’s transactions with related parties are
     permitted by the U.S. Department of Labor’s prohibited transaction exemptions.




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New York University School of Medicine Retirement Plan for Members
of the Faculty, Professional Research Staff and Administration
Schedule H, Line 4i- Schedule of Assets (Held at End of Year)*, continued
December 31, 2015

     Identity of Issue, Borrower, Lessor
     or Similar Party Individual                                            Description of Investment    Cost       Fair Value

**   CREF Bond Market                                                    Variable Annuity Contract        ***   $     24,033,914
**   CREF Equity Index                                                   Variable Annuity Contract        ***         35,648,736
**   CREF Global Equities                                                Variable Annuity Contract        ***         44,409,207
**   CREF Growth                                                         Variable Annuity Contract        ***         59,106,885
**   CREF Inflation-Linked Bond                                          Variable Annuity Contract        ***         17,529,467
**   CREF Money Market                                                   Variable Annuity Contract        ***         24,238,010
**   CREF Social Choice                                                  Variable Annuity Contract        ***         20,137,617
**   CREF Stock                                                          Variable Annuity Contract        ***        309,981,929
**   TIAA Real Estate                                                    Pooled Separate Account          ***         71,049,620
**   TIAA Traditional - RA                                               Guaranteed Insurance Contract    ***        417,947,416
**   TIAA Traditional - GSRA & SRA                                       Guaranteed Insurance Contract    ***        128,844,177
     Vanguard Admiral Treasury Money Market Fund                         Registered Investment Company    ***          1,306,521
     Vanguard Balanced Index Fund Institutional Shares                   Registered Investment Company    ***         12,900,009
     Vanguard Capital Opportunity Fund Admiral Shares                    Registered Investment Company    ***         15,475,864
     Vanguard Capital Value Fund                                         Registered Investment Company    ***          1,510,545
     Vanguard Convertible Securities Fund                                Registered Investment Company    ***          1,341,488
     Vanguard Developed Markets Index Fund Institutional Shares          Registered Investment Company    ***          5,600,677
     Vanguard Dividend Growth Fund                                       Registered Investment Company    ***          7,675,763
     Vanguard Emerging Markets Stock Index Fund Institutional Shares     Registered Investment Company    ***          8,929,706
     Vanguard Equity Income Fund Admiral Shares                          Registered Investment Company    ***          8,720,434
     Vanguard European Stock Index Fund Admiral Shares                   Registered Investment Company    ***          2,530,090
     Vanguard Explorer Fund Admiral Shares                               Registered Investment Company    ***          7,921,054
     Vanguard Extended Market Index Fund Admiral Shares                  Registered Investment Company    ***          2,657,199
     Vanguard Federal Money Market Fund                                  Registered Investment Company    ***            616,721
     Vanguard FTSE Social Index Fund Investor Shares                     Registered Investment Company    ***            130,425
     Vanguard Global Equity Fund                                         Registered Investment Company    ***          7,381,234
     Vanguard GNMA Fund Admiral Shares                                   Registered Investment Company    ***          2,560,626
     Vanguard Growth and Income Fund Admiral Shares                      Registered Investment Company    ***         10,060,332
     Vanguard Growth Index Fund Institutional Shares                     Registered Investment Company    ***          5,315,162
     Vanguard High-Yield Corporate Fund Admiral Shares                   Registered Investment Company    ***          6,732,951
     Vanguard Inflation-Protected Securities Fund Institutional Shares   Registered Investment Company    ***          6,050,350
     Vanguard Institutional Index Fund                                   Registered Investment Company    ***         52,010,759
     Vanguard Intermediate-Term Bond Index Fund Admiral Shares           Registered Investment Company    ***          3,402,934
     Vanguard Intermediate-Term Treasury Fund Admiral Shares             Registered Investment Company    ***          1,270,231
     Vanguard Intermediate-Term Invt Gd Admiral Shares                   Registered Investment Company    ***          2,334,444
     Vanguard International Explorer Fund                                Registered Investment Company    ***          7,395,374
     Vanguard International Growth Fund Admiral Shares                   Registered Investment Company    ***         10,681,832
     Vanguard International Value Fund                                   Registered Investment Company    ***          4,958,075
     Vanguard LifeStrategy Conservative Growth Fund                      Registered Investment Company    ***          1,496,971
     Vanguard LifeStrategy Growth Fund                                   Registered Investment Company    ***          2,700,803
     Vanguard LifeStrategy Income Fund                                   Registered Investment Company    ***            656,879
     Vanguard LifeStrategy Moderate Growth Fund                          Registered Investment Company    ***          5,242,118
     Vanguard Long-Term Bond Index Fund                                  Registered Investment Company    ***          2,317,319
     Vanguard Long-Term Investment Grade Fund - Admiral Shares           Registered Investment Company    ***          4,497,812
     Vanguard Long-Term Treasury Fund Investor Shares                    Registered Investment Company    ***          5,884,839
     Vanguard Mid-Cap Growth Fund                                        Registered Investment Company    ***          4,327,698
     Vanguard Mid-Cap Index Fund Institutional Shares                    Registered Investment Company    ***         11,491,511
     Vanguard Morgan Growth Fund Admiral Shares                          Registered Investment Company    ***          7,018,828
     Vanguard Pacific Stock Index Fund Admiral Shares                    Registered Investment Company    ***          1,072,196
     Vanguard Prime Money Market Fund                                    Registered Investment Company    ***         18,491,253
     Vanguard PRIMECAP Fund Admiral Shares                               Registered Investment Company    ***         46,535,254
     Vanguard REIT Index Fund Institutional Shares                       Registered Investment Company    ***         11,212,337
     Vanguard Selected Value Fund                                        Registered Investment Company    ***          6,191,236
     Vanguard Short-Term Bond Index Fund Admiral Shares                  Registered Investment Company    ***          3,483,742
     Vanguard Short-Term Federal Fund Admiral Shares                     Registered Investment Company    ***          2,968,594
     Vanguard Short-Term Investment-Grade Fund Institutional Shares      Registered Investment Company    ***          5,690,689
     Vanguard Short-Term Treasury Fund Admiral Shares                    Registered Investment Company    ***            877,881



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                                                                                                                Exhibit 5
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New York University School of Medicine Retirement Plan for Members
of the Faculty, Professional Research Staff and Administration
Schedule H, Line 4i- Schedule of Assets (Held at End of Year)*, continued
December 31, 2015

Identity of Issue Borrower, Lessor, or
Similar Party Individual                                           Description of Investment     Cost     Fair Value

Vanguard Small-Cap Growth Index Fund Institutional Shares      Registered Investment   Company   ***         5,264,894
Vanguard Small-Cap Index Fund Institutional Shares             Registered Investment   Company   ***         8,126,756
Vanguard Small-Cap Value Index Fund Institutional Shares       Registered Investment   Company   ***         7,866,832
Vanguard STAR Fund                                             Registered Investment   Company   ***         5,714,641
Vanguard Strategic Equity Fund                                 Registered Investment   Company   ***         6,865,804
Vanguard Institutional Target Retirement 2010 Fund             Registered Investment   Company   ***         2,328,736
Vanguard Institutional Target Retirement 2015 Fund             Registered Investment   Company   ***         8,834,392
Vanguard Institutional Target Retirement 2020 Fund             Registered Investment   Company   ***        13,562,019
Vanguard Institutional Target Retirement 2025 Fund             Registered Investment   Company   ***        19,570,773
Vanguard Institutional Target Retirement 2030 Fund             Registered Investment   Company   ***        13,518,843
Vanguard Institutional Target Retirement 2035 Fund             Registered Investment   Company   ***        27,258,486
Vanguard Institutional Target Retirement 2040 Fund             Registered Investment   Company   ***        17,004,644
Vanguard Institutional Target Retirement 2045 Fund             Registered Investment   Company   ***        25,285,133
Vanguard Institutional Target Retirement 2050 Fund             Registered Investment   Company   ***         4,049,271
Vanguard Institutional Target Retirement 2055 Fund             Registered Investment   Company   ***           458,308
Vanguard Institutional Target Retirement 2060 Fund             Registered Investment   Company   ***           279,033
Vanguard Institutional Target Retirement Income Fund           Registered Investment   Company   ***         2,522,355
Vanguard Total Bond Market Index Fund Institutional Shares     Registered Investment   Company   ***        15,952,459
Vanguard Total International Stock Index Fund                  Registered Investment   Company   ***         8,656,355
Vanguard Total Stock Market Index Fund Institutional Shares    Registered Investment   Company   ***        34,241,955
Vanguard U.S. Growth Fund Admiral Shares                       Registered Investment   Company   ***        11,405,781
Vanguard U.S. Value Fund                                       Registered Investment   Company   ***         4,270,821
Vanguard Value Index Fund Admiral Shares                       Registered Investment   Company   ***         3,747,777
Vanguard Wellesley Income Fund Admiral Shares                  Registered Investment   Company   ***        14,017,435
Vanguard Wellington Fund Admiral Shares                        Registered Investment   Company   ***        22,606,373
Vanguard Windsor Fund Admiral Shares                           Registered Investment   Company   ***        41,012,621
Vanguard Windsor II Fund Admiral Shares                        Registered Investment   Company   ***        16,030,401
                                                                                                        $ 1,833,008,636


*      The information in this schedule has been certified as to its completeness and accuracy by the
       custodian.

**     These are permitted party-in-interest transactions as defined by ERISA.

***    Cost information is not required for participant-directed investments and therefore is not included.




                                                              17
                                                                                                        Exhibit 5
